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Fn-ED 3 ,
IN THE UNITED STATES DISTRICT COURT z ' " "
FOR THE WESTERN DISTRICT OF TENNESSEE 95 F‘F;f:`,r’ 20 pH h. eq
WESTERN DIVISION ` v

mai-ar -
AMERICAN COPPER & BRASS, INC. and `
THE BANKRUPT ESTATE OF SMITH AND
WOFFORD PLUMBING AND INDUSTRIAL
SUPPLY, INC., on behalf of themselves and all

others similarly situated,

 

P|aintiffs,

v. No. 04-2771-DIV

JUDGE BERNICE B.
DONALD
BOLIDEN AB, et al.,

Defendants.

 

AMENDED ORDER GRANTING DEFENDANT HALCOR S.A.’S
UNOPPOSED MOTION FOR AN ADDITIONAL ENLARGEMENT OF
TIME IN WHICH TO FILE A RESPONSIVE PLEADING TO
PLAINTIFFS’ COMPLAINT

 

IT APPEARING to the Court that the Motion of Defendant,
Ha|cor S.A., for An Additiona| En|argement of Time in Whic:h to Answer,
Move or Otherwise Respond to P|aintiffs' Cornp|aint is weil taken and
should be granted;

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED
that the Defendant, Ha|cor S.A., is granted an additional enlargement
of time through and including May 26, 2005, to answer, move or

otherwise respond to the Plaintiffs’ Comp|aint.

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with Fiuie 58 and/or 79(a) FHCP en _£l&i

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Entered this 02 0 day of 34ng , 2005.

By: A/(l/%,?, /K %4/0&"

HONORABLE DIANE K. VESCOVO
U.S. MAGISTRATE JUDGE

 

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This notice confirms a copy of the document docketed as number 86 in
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Honorable Bernice Donald
US DISTRICT COURT

